Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 1 of 32




                     Exhibit 10
Online NewsHour: Bin Laden's Fatwa                                               Page 1 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 2 of 32




                                                                   BIN LADEN'S FATWA

                                            The following text is a fatwa, or declaration of war, by
                                            Osama bin Laden first published in Al Quds Al Arabi,
                                            a London-based newspaper, in August, 1996. The
                                            fatwa is entitled "Declaration of War against the
                                            Americans Occupying the Land of the Two Holy
                                            Places."



                                Praise be to Allah, we seek His help and ask for
              Online Special his pardon. we take refuge in Allah from our
                      Report: wrongs and bad deeds. Who ever been guided by
              Terrorist Attacks Allah will not be misled, and who ever has been
                                misled, he will never be guided. I bear witness that
                  International there is no God except Allah-no associates with
                      Reaction Him- and I bear witness that Muhammad is His
                                slave and messenger.
                    Al Qaeda

                  Afghanistan
                                 {O you who believe! be careful of -your duty to-
                                 Allah with the proper care which is due to Him,
             African Embassy     and do not die unless you are Muslim} (Imraan;
                    Bombings     3:102), {O people be careful of -your duty to- your
                                 Lord, Who created you from a single being and
               Who is Osama      created its mate of the same -kind- and spread
                 bin Laden?      from these two, many men and women; and be
                                 careful of -your duty to- Allah , by whom you
                                 demand one of another -your rights-, and (be
                                 careful) to the ties of kinship; surely Allah ever
                                 watches over you} (An-Nisa; 4:1), {O you who
                                 believe! be careful- of your duty- to Allah and
                                 speak the right word; He will put your deeds into a
                                 right state for you, and forgive you your faults; and
                                 who ever obeys Allah and his Apostle, he indeed
                                 achieve a mighty success} (Al-Ahzab; 33:70-71).

                                 Praise be to Allah, reporting the saying of the
                                 prophet Shu'aib: {I desire nothing but reform so far
                                 as I am able, and with non but Allah is the
                                 direction of my affair to the right and successful
                                 path; on him do I rely and to him do I turn} (Hud;
                                 11:88).
                    U.S. State
             Department Office   Praise be to Allah, saying: {You are the best of the
                            of   nations raised up for -the benefit of- men; you


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                                    6/30/2004
Online NewsHour: Bin Laden's Fatwa                                               Page 2 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 3 of 32

              Counterterrorism    enjoin what is right and forbid the wrong and
                                  believe in Allah} (Aal-Imraan; 3:110). Allah's
                     Terrorism    blessing and salutations on His slave and
               Research Center
                                  messenger who said: (The people are close to an
                                  all encompassing punishment from Allah if they
                 International
               Policy Institute   see the oppressor and fail to restrain him.)
                  for Counter-
                     Terrorism    It should not be hidden from you that the people of
                                  Islam had suffered from aggression, iniquity and
                                  injustice imposed on them by the Zionist-
                                  Crusaders alliance and their collaborators; to the
                                  extent that the Muslims blood became the
                                  cheapest and their wealth as loot in the hands of
                                  the enemies. Their blood was spilled in Palestine
                                  and Iraq. The horrifying pictures of the massacre
                                  of Qana, in Lebanon are still fresh in our memory.
                                  Massacres in Tajakestan, Burma, Cashmere,
                                  Assam, Philippine, Fatani, Ogadin, Somalia,
                                  Erithria, Chechnia and in Bosnia-Herzegovina took
                                  place, massacres that send shivers in the body
                                  and shake the conscience. All of this and the
                                  world watch and hear, and not only didn't respond
                                  to these atrocities, but also with a clear conspiracy
                                  between the USA and its' allies and under the
                                  cover of the iniquitous United Nations, the
                                  dispossessed people were even prevented from
                                  obtaining arms to defend themselves.

                                  The people of Islam awakened and realised that
                                  they are the main target for the aggression of the
                                  Zionist-Crusaders alliance. All false claims and
                                  propaganda about "Human Rights" were
                                  hammered down and exposed by the massacres
                                  that took place against the Muslims in every part
                                  of the world.

                                  The latest and the greatest of these aggressions,
                                  incurred by the Muslims since the death of the
                                  Prophet (ALLAH'S BLESSING AND
                                  SALUTATIONS ON HIM) is the occupation of the
                                  land of the two Holy Places -the foundation of the
                                  house of Islam, the place of the revelation, the
                                  source of the message and the place of the noble
                                  Ka'ba, the Qiblah of all Muslims- by the armies of
                                  the American Crusaders and their allies. (We
                                  bemoan this and can only say: "No power and
                                  power acquiring except through Allah").

                                  Under the present circumstances, and under the
                                  banner of the blessed awakening which is
                                  sweeping the world in general and the Islamic
                                  world in particular, I meet with you today. And
                                  after a long absence, imposed on the scholars


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                       6/30/2004
Online NewsHour: Bin Laden's Fatwa                                               Page 3 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 4 of 32

                             (Ulama) and callers (Da'ees) of Islam by the
                             iniquitous crusaders movement under the
                             leadership of the USA; who fears that they, the
                             scholars and callers of Islam, will instigate the
                             Ummah of Islam against its' enemies as their
                             ancestor scholars-may Allah be pleased with
                             them- like Ibn Taymiyyah and Al'iz Ibn Abdes-
                             Salaam did. And therefore the Zionist-Crusader
                             alliance resorted to killing and arresting the truthful
                             Ulama and the working Da'ees (We are not
                             praising or sanctifying them; Allah sanctify whom
                             He pleased). They killed the Mujahid Sheikh
                             Abdullah Azzaam, and they arrested the Mujahid
                             Sheikh Ahmad Yaseen and the Mujahid Sheikh
                             Omar Abdur Rahman (in America).

                             By orders from the USA they also arrested a large
                             number of scholars, Da'ees and young people - in
                             the land of the two Holy Places- among them the
                             prominent Sheikh Salman Al-Oud'a and Sheikh
                             Safar Al-Hawali and their brothers; (We bemoan
                             this and can only say: "No power and power
                             acquiring except through Allah"). We, myself and
                             my group, have suffered some of this injustice
                             ourselves; we have been prevented from
                             addressing the Muslims. We have been pursued
                             in Pakistan, Sudan and Afghanistan, hence this
                             long absence on my part. But by the Grace of
                             Allah, a safe base is now available in the high
                             Hindukush mountains in Khurasan ; where--by the
                             Grace of Allah-the largest infidel military force of
                             the world was destroyed. And the myth of the
                             super power was withered in front of the
                             Mujahideen cries of Allahu Akbar (God is greater).
                             Today we work from the same mountains to lift the
                             iniquity that had been imposed on the Ummah by
                             the Zionist-Crusader alliance, particularly after
                             they have occupied the blessed land around
                             Jerusalem, route of the journey of the Prophet
                             (ALLAH'S BLESSING AND SALUTATIONS ON
                             HIM) and the land of the two Holy Places. We ask
                             Allah to bestow us with victory, He is our Patron
                             and He is the Most Capable.

                             From here, today we begin the work, talking and
                             discussing the ways of correcting what had
                             happened to the Islamic world in general, and the
                             Land of the two Holy Places in particular. We wish
                             to study the means that we could follow to return
                             the situation to its' normal path. And to return to
                             the people their own rights, particularly after the
                             large damages and the great aggression on the
                             life and the religion of the people. An injustice that


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                    6/30/2004
Online NewsHour: Bin Laden's Fatwa                                               Page 4 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 5 of 32

                             had affected every section and group of the
                             people; the civilians, military and security men,
                             government officials and merchants, the young
                             and the old people as well as schools and
                             university students. Hundred of thousands of the
                             unemployed graduates, who became the widest
                             section of the society, were also affected.

                             Injustice had affected the people of the industry
                             and agriculture. It affected the people of the rural
                             and urban areas. And almost every body complain
                             about something. The situation at the land of the
                             two Holy places became like a huge volcano at
                             the verge of eruption that would destroy the Kufr
                             and the corruption and its' sources. The explosion
                             at Riyadh and Al-Khobar is a warning of this
                             volcanic eruption emerging as a result of the sever
                             oppression, suffering, excessive iniquity,
                             humiliation and poverty.

                             People are fully concerned about their every day
                             livings; every body talks about the deterioration of
                             the economy, inflation, ever increasing debts and
                             jails full of prisoners. Government employees with
                             limited income talk about debts of ten thousands
                             and hundred thousands of Saudi Riyals . They
                             complain that the value of the Riyal is greatly and
                             continuously deteriorating among most of the main
                             currencies. Great merchants and contractors
                             speak about hundreds and thousands of million
                             Riyals owed to them by the government. More
                             than three hundred forty billions of Riyal owed by
                             the government to the people in addition to the
                             daily accumulated interest, let alone the foreign
                             debt. People wonder whether we are the largest
                             oil exporting country?! They even believe that this
                             situation is a curse put on them by Allah for not
                             objecting to the oppressive and illegitimate
                             behaviour and measures of the ruling regime:
                             Ignoring the divine Shari'ah law; depriving people
                             of their legitimate rights; allowing the American to
                             occupy the land of the two Holy Places;
                             imprisonment, unjustly, of the sincere scholars.
                             The honourable Ulamah and scholars as well as
                             merchants, economists and eminent people of the
                             country were all alerted by this disastrous
                             situation.

                             Quick efforts were made by each group to contain
                             and to correct the situation. All agreed that the
                             country is heading toward a great catastrophe, the
                             depth of which is not known except by Allah. One
                             big merchant commented : '' the king is leading


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                 6/30/2004
Online NewsHour: Bin Laden's Fatwa                                               Page 5 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 6 of 32

                             the state into 'sixty-six' folded disaster'', (We
                             bemoan this and can only say: "No power and
                             power acquiring except through Allah"). Numerous
                             princes share with the people their feelings,
                             privately expressing their concerns and objecting
                             to the corruption, repression and the intimidation
                             taking place in the country. But the competition
                             between influential princes for personal gains and
                             interest had destroyed the country. Through its
                             course of actions the regime has torn off its
                             legitimacy:

                             (1) Suspension of the Islamic Shari'ah law and
                             exchanging it with man made civil law. The regime
                             entered into a bloody confrontation with the
                             truthful Ulamah and the righteous youths (we
                             sanctify nobody; Allah sanctify Whom He
                             pleaseth).

                             (2) The inability of the regime to protect the
                             country, and allowing the enemy of the Ummah -
                             the American crusader forces- to occupy the land
                             for the longest of years. The crusader forces
                             became the main cause of our disastrous
                             condition, particularly in the economical aspect of
                             it due to the unjustified heavy spending on these
                             forces. As a result of the policy imposed on the
                             country, especially in the field of oil industry where
                             production is restricted or expanded and prices
                             are fixed to suit the American economy ignoring
                             the economy of the country. Expensive deals were
                             imposed on the country to purchase arms. People
                             asking what is the justification for the very
                             existence of the regime then?

                             Quick efforts were made by individuals and by
                             different groups of the society to contain the
                             situation and to prevent the danger. They advised
                             the government both privately and openly; they
                             send letters and poems, reports after reports,
                             reminders after reminders, they explored every
                             avenue and enlist every influential man in their
                             movement of reform and correction. They wrote
                             with style of passion, diplomacy and wisdom
                             asking for corrective measures and repentance
                             from the "great wrong doings and corruption " that
                             had engulfed even the basic principles of the
                             religion and the legitimate rights of the people.

                             But -to our deepest regret- the regime refused to
                             listen to the people accusing them of being
                             ridiculous and imbecile. The matter got worse as
                             previous wrong doings were followed by mischief's


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                   6/30/2004
Online NewsHour: Bin Laden's Fatwa                                               Page 6 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 7 of 32

                             of greater magnitudes. All of this taking place in
                             the land of the two Holy Places! It is no longer
                             possible to be quiet. It is not acceptable to give a
                             blind eye to this matter.

                             As the extent of these infringements reached the
                             highest of levels and turned into demolishing
                             forces threatening the very existence of the
                             Islamic principles, a group of scholars-who can
                             take no more- supported by hundreds of retired
                             officials, merchants, prominent and educated
                             people wrote to the King asking for
                             implementation of the corrective measures. In
                             1411 A.H. (May 1991), at the time of the gulf war,
                             a letter, the famous letter of Shawwaal, with over
                             four hundred signatures was send to the king
                             demanding the lift of oppression and the
                             implementation of corrective actions. The king
                             humiliated those people and choose to ignore the
                             content of their letter; and the very bad situation of
                             the country became even worse.

                             People, however, tried again and send more
                             letters and petitions. One particular report, the
                             glorious Memorandum Of Advice, was handed
                             over to the king on Muharram, 1413 A.H (July
                             1992), which tackled the problem pointed out the
                             illness and prescribed the medicine in an original,
                             righteous and scientific style. It described the gaps
                             and the shortcoming in the philosophy of the
                             regime and suggested the required course of
                             action and remedy. The report gave a description
                             of:

                             (1) The intimidation and harassment suffered by
                             the leaders of the society, the scholars, heads of
                             tribes, merchants, academic teachers and other
                             eminent individuals;

                             (2) The situation of the law within the country and
                             the arbitrary declaration of what is Halal and
                             Haram (lawful and unlawful) regardless of the
                             Shari'ah as instituted by Allah;

                             (3) The state of the press and the media which
                             became a tool of truth-hiding and misinformation;
                             the media carried out the plan of the enemy of
                             idolising cult of certain personalities and spreading
                             scandals among the believers to repel the people
                             away from their religion, as Allah, the Exalted said:
                             {surely- as for- those who love that scandal should
                             circulate between the believers, they shall have a



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                   6/30/2004
Online NewsHour: Bin Laden's Fatwa                                               Page 7 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 8 of 32

                             grievous chastisement in this world and in the
                             here after} (An-Noor, 24:19).

                             (4) Abuse and confiscation of human rights;

                             (5) The financial and the economical situation of
                             the country and the frightening future in the view
                             of the enormous amount of debts and interest
                             owed by the government; this is at the time when
                             the wealth of the Ummah being wasted to satisfy
                             personal desires of certain individuals!! while
                             imposing more custom duties and taxes on the
                             nation. (the prophet said about the woman who
                             committed adultery: "She repented in such a way
                             sufficient to bring forgiveness to a custom
                             collector!!").,

                             (6) The miserable situation of the social services
                             and infra-structure especially the water service
                             and supply , the basic requirement of life.,

                             (7) The state of the ill-trained and ill-prepared
                             army and the impotence of its commander in chief
                             despite the incredible amount of money that has
                             been spent on the army. The gulf war clearly
                             exposed the situation.,

                             (8) Shari'a law was suspended and man made law
                             was used instead.,

                             (9) And as far as the foreign policy is concerned
                             the report exposed not only how this policy has
                             disregarded the Islamic issues and ignored the
                             Muslims, but also how help and support were
                             provided to the enemy against the Muslims; the
                             cases of Gaza-Ariha and the communist in the
                             south of Yemen are still fresh in the memory, and
                             more can be said.

                             As stated by the people of knowledge, it is not a
                             secret that to use man made law instead of the
                             Shari'a and to support the infidels against the
                             Muslims is one of the ten "voiders" that would strip
                             a person from his Islamic status (turn a Muslim
                             into a Mushrik, non believer status). The All Mighty
                             said: {and whoever did not judge by what Allah
                             revealed, those are the unbelievers} (Al-Ma'ida;
                             5:44), and {but no! by your Lord! they do not
                             believe (in reality) until they make you a judge of
                             that which has become a matter of disagreement
                             among them, and then do not find the slightest
                             misgiving in their hearts as to what you have



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                 6/30/2004
Online NewsHour: Bin Laden's Fatwa                                               Page 8 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 9 of 32

                             decided and submit with entire submission} (An-
                             Nissa; 4:65).

                             In spite of the fact that the report was written with
                             soft words and very diplomatic style, reminding of
                             Allah, giving truthful sincere advice, and despite of
                             the importance of advice in Islam - being
                             absolutely essential for those in charge of the
                             people- and the large number who signed this
                             document as well as their supporters, all of that
                             was not an intercession for the Memorandum . Its'
                             content was rejected and those who signed it and
                             their sympathisers were ridiculed, prevented from
                             travel, punished and even jailed.

                             Therefore it is very clear that the advocates of
                             correction and reform movement were very keen
                             on using peaceful means in order to protect the
                             unity of the country and to prevent blood shed.
                             Why is it then the regime closed all peaceful
                             routes and pushed the people toward armed
                             actions?!! which is the only choice left for them to
                             implement righteousness and justice. To whose
                             benefit does prince Sultan and prince Nayeff push
                             the country into a civil war that will destroy
                             everything? and why consulting those who ignites
                             internal feuds, playing the people against each
                             other and instigate the policemen, the sons of the
                             nation, to abort the reform movement. While
                             leaving in peace and security such traitors who
                             implement the policy of the enemy in order to
                             bleed the financial and the human resources of
                             the Ummah, and leaving the main enemy in the
                             area-the American Zionist alliance enjoy peace
                             and security?!

                             The advisor (Zaki Badr, the Egyptian ex-minister
                             of the interior) to prince Nayeff -minister of interior-
                             was not acceptable even to his own country; he
                             was sacked from his position there due to the filthy
                             attitude and the aggression he exercised on his
                             own people, yet he was warmly welcomed by
                             prince Nayeff to assist in sins and aggressions. He
                             unjustly filled the prisons with the best sons of this
                             Ummah and caused miseries to their mothers.
                             Does the regime want to play the civilians against
                             their military personnel and vice versa, like what
                             had happened in some of the neighbouring
                             countries?!! No doubts this is the policy of the
                             American-Israeli alliance as they are the first to
                             benefit from this situation.

                             But with the grace of Allah, the majority of the


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                     6/30/2004
Online NewsHour: Bin Laden's Fatwa                                                Page 9 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 10 of 32

                             nation, both civilians and military individuals are
                             aware of the wicked plan. They refused to be
                             played against each others and to be used by the
                             regime as a tool to carry out the policy of the
                             American-Israeli alliance through their agent in our
                             country: the Saudi regime.

                             Therefore every one agreed that the situation can
                             not be rectified (the shadow cannot be straighten
                             when its' source, the rod, is not straight either)
                             unless the root of the problem is tackled. Hence it
                             is essential to hit the main enemy who divided the
                             Ummah into small and little countries and pushed
                             it, for the last few decades, into a state of
                             confusion. The Zionist-Crusader alliance moves
                             quickly to contain and abort any "corrective
                             movement" appearing in the Islamic countries.
                             Different means and methods are used to achieve
                             their target; on occasion the "movement" is
                             dragged into an armed struggle at a
                             predetermined unfavourable time and place.
                             Sometime officials from the Ministry of Interior,
                             who are also graduates of the colleges of the
                             Shari'ah, are leashed out to mislead and confuse
                             the nation and the Ummah (by wrong Fatwas) and
                             to circulate false information about the movement.
                             At other occasions some righteous people were
                             tricked into a war of words against the Ulama and
                             the leaders of the movement, wasting the energy
                             of the nation in discussing minor issues and
                             ignoring the main one that is the unification of the
                             people under the divine law of Allah.

                             In the shadow of these discussions and
                             arguments truthfulness is covered by the
                             falsehood, and personal feuds and partisanship
                             created among the people increasing the division
                             and the weakness of the Ummah; priorities of the
                             Islamic work are lost while the blasphemy and
                             polytheism continue its grip and control over the
                             Ummah. We should be alert to these atrocious
                             plans carried out by the Ministry of Interior. The
                             right answer is to follow what have been decided
                             by the people of knowledge, as was said by Ibn
                             Taymiyyah (Allah's mercy upon him): "people of
                             Islam should join forces and support each other to
                             get rid of the main "Kufr" who is controlling the
                             countries of the Islamic world, even to bear the
                             lesser damage to get rid of the major one, that is
                             the great Kufr".

                             If there are more than one duty to be carried out,
                             then the most important one should receive


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                  6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 10 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 11 of 32

                             priority. Clearly after Belief (Imaan) there is no
                             more important duty than pushing the American
                             enemy out of the holy land. No other priority,
                             except Belief, could be considered before it; the
                             people of knowledge, Ibn Taymiyyah, stated: "to
                             fight in defence of religion and Belief is a collective
                             duty; there is no other duty after Belief than
                             fighting the enemy who is corrupting the life and
                             the religion. There is no preconditions for this duty
                             and the enemy should be fought with one best
                             abilities. (ref: supplement of Fatawa). If it is not
                             possible to push back the enemy except by the
                             collective movement of the Muslim people, then
                             there is a duty on the Muslims to ignore the minor
                             differences among themselves; the ill effect of
                             ignoring these differences, at a given period of
                             time, is much less than the ill effect of the
                             occupation of the Muslims' land by the main Kufr.
                             Ibn Taymiyyah had explained this issue and
                             emphasised the importance of dealing with the
                             major threat on the expense of the minor one. He
                             described the situation of the Muslims and the
                             Mujahideen and stated that even the military
                             personnel who are not practising Islam are not
                             exempted from the duty of Jihad against the
                             enemy.

                             Ibn Taymiyyah , after mentioning the Moguls
                             (Tatar) and their behaviour in changing the law of
                             Allah, stated that: the ultimate aim of pleasing
                             Allah, raising His word, instituting His religion and
                             obeying His messenger (ALLAH'S BLESSING
                             AND SALUTATIONS ON HIM) is to fight the
                             enemy, in every aspects and in a complete
                             manner; if the danger to the religion from not
                             fighting is greater than that of fighting, then it is a
                             duty to fight them even if the intention of some of
                             the fighter is not pure i.e . fighting for the sake of
                             leadership (personal gain) or if they do not
                             observe some of the rules and commandments of
                             Islam. To repel the greatest of the two dangers on
                             the expense of the lesser one is an Islamic
                             principle which should be observed. It was the
                             tradition of the people of the Sunnah (Ahlul-
                             Sunnah) to join and invade- fight- with the
                             righteous and non righteous men. Allah may
                             support this religion by righteous and non
                             righteous people as told by the prophet (ALLAH'S
                             BLESSING AND SALUTATIONS ON HIM). If it is
                             not possible to fight except with the help of non
                             righteous military personnel and commanders,
                             then there are two possibilities: either fighting will
                             be ignored and the others, who are the great


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                    6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 11 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 12 of 32

                             danger to this life and religion, will take control; or
                             to fight with the help of non righteous rulers and
                             therefore repelling the greatest of the two dangers
                             and implementing most, though not all, of the
                             Islamic laws. The latter option is the right duty to
                             be carried out in these circumstances and in many
                             other similar situation. In fact many of the fights
                             and conquests that took place after the time of
                             Rashidoon, the guided Imams, were of this type.
                             (majmoo' al Fatawa, 26/506).

                             No one, not even a blind or a deaf person , can
                             deny the presence of the widely spread mischief's
                             or the prevalence of the great sins that had
                             reached the grievous iniquity of polytheism and to
                             share with Allah in His sole right of sovereignty
                             and making of the law. The All Mighty stated: {And
                             when Luqman said to his son while he admonish
                             him: O my son! do not associate ought with Allah;
                             most surely polytheism is a grievous iniquity}
                             (Luqman; 31:13). Man fabricated laws were put
                             forward permitting what has been forbidden by
                             Allah such as usury (Riba) and other matters.
                             Banks dealing in usury are competing, for lands,
                             with the two Holy Places and declaring war
                             against Allah by disobeying His order {Allah has
                             allowed trading and forbidden usury} (Baqarah;
                             2:275). All this taking place at the vicinity of the
                             Holy Mosque in the Holy Land! Allah (SWT) stated
                             in His Holy Book a unique promise (that had not
                             been promised to any other sinner) to the Muslims
                             who deals in usury: {O you who believe! Be
                             careful of your duty to Allah and relinquish what
                             remains (due) from usury, if you are believers *
                             But if you do (it) not, then be appraised of WAR
                             from Allah and His Apostle} (Baqarah; 2:278-279).
                             This is for the "Muslim" who deals in usury
                             (believing that it is a sin), what is it then to the
                             person who make himself a partner and equal to
                             Allah, legalising (usury and other sins) what has
                             been forbidden by Allah. Despite of all of the
                             above we see the government misled and
                             dragged some of the righteous Ulamah and
                             Da'ees away from the issue of objecting to the
                             greatest of sins and Kufr. (We bemoan this and
                             can only say: "No power and power acquiring
                             except through Allah").

                             Under such circumstances, to push the enemy-the
                             greatest Kufr- out of the country is a prime duty.
                             No other duty after Belief is more important than
                             the duty of had . Utmost effort should be made to
                             prepare and instigate the Ummah against the


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                    6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 12 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 13 of 32

                             enemy, the American-Israeli alliance- occupying
                             the country of the two Holy Places and the route of
                             the Apostle (Allah's Blessings and Salutations may
                             be on him) to the Furthest Mosque (Al-Aqsa
                             Mosque). Also to remind the Muslims not to be
                             engaged in an internal war among themselves, as
                             that will have grieve consequences namely:

                             1-consumption of the Muslims human resources
                             as most casualties and fatalities will be among the
                             Muslims people.

                             2-Exhaustion of the economic and financial
                             resources.

                             3-Destruction of the country infrastructures

                             4-Dissociation of the society

                             5-Destruction of the oil industries. The presence of
                             the USA Crusader military forces on land, sea and
                             air of the states of the Islamic Gulf is the greatest
                             danger threatening the largest oil reserve in the
                             world. The existence of these forces in the area
                             will provoke the people of the country and induces
                             aggression on their religion, feelings and prides
                             and push them to take up armed struggle against
                             the invaders occupying the land; therefore spread
                             of the fighting in the region will expose the oil
                             wealth to the danger of being burned up. The
                             economic interests of the States of the Gulf and
                             the land of the two Holy Places will be damaged
                             and even a greater damage will be caused to the
                             economy of the world. I would like here to alert my
                             brothers, the Mujahideen, the sons of the nation,
                             to protect this (oil) wealth and not to include it in
                             the battle as it is a great Islamic wealth and a
                             large economical power essential for the soon to
                             be established Islamic state, by Allah's Permission
                             and Grace. We also warn the aggressors, the
                             USA, against burning this Islamic wealth (a crime
                             which they may commit in order to prevent it, at
                             the end of the war, from falling in the hands of its
                             legitimate owners and to cause economic
                             damages to the competitors of the USA in Europe
                             or the Far East, particularly Japan which is the
                             major consumer of the oil of the region).

                             6-Division of the land of the two Holy Places, and
                             annexing of the northerly part of it by Israel.
                             Dividing the land of the two Holy Places is an
                             essential demand of the Zionist-Crusader alliance.



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                  6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 13 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 14 of 32

                             The existence of such a large country with its
                             huge resources under the leadership of the
                             forthcoming Islamic State, by Allah's Grace,
                             represent a serious danger to the very existence
                             of the Zionist state in Palestine. The Nobel Ka'ba,
                             -the Qiblah of all Muslims- makes the land of the
                             two Holy Places a symbol for the unity of the
                             Islamic world. Moreover, the presence of the world
                             largest oil reserve makes the land of the two Holy
                             Places an important economical power in the
                             Islamic world. The sons of the two Holy Places are
                             directly related to the life style (Seerah) of their
                             forefathers, the companions, may Allah be
                             pleased with them. They consider the Seerah of
                             their forefathers as a source and an example for
                             re-establishing the greatness of this Ummah and
                             to raise the word of Allah again. Furthermore the
                             presence of a population of fighters in the south of
                             Yemen, fighting in the cause of Allah, is a strategic
                             threat to the Zionist-Crusader alliance in the area.
                             The Prophet (ALLAH'S BLESSING AND
                             SALUTATIONS ON HIM) said: (around twelve
                             thousands will emerge from Aden/Abian helping -
                             the cause of- Allah and His messenger, they are
                             the best, in the time, between me and them)
                             narrated by Ahmad with a correct trustworthy
                             reference.

                             7-An internal war is a great mistake, no matter
                             what reasons are there for it. the presence of the
                             occupier-the USA- forces will control the outcome
                             of the battle for the benefit of the international
                             Kufr.

                             I address now my brothers of the security and
                             military forces and the national guards may Allah
                             preserve you hoard for Islam and the Muslims
                             people:

                             O you protectors of unity and guardians of Faith;
                             O you descendent of the ancestors who carried
                             the light (torch) of guidance and spread it all over
                             the world. O you grandsons of Sa'd Ibn Abi
                             Waqqaas , Almothanna Ibn Haritha Ash-
                             Shaybani , Alga'ga' Ibn Amroo Al-Tameemi and
                             those pious companions who fought Jihad
                             alongside them; you competed to join the army
                             and the guard forces with the intention to carry out
                             Jihad in the cause of Allah -raising His word- and
                             to defend the faith of Islam and the land of the two
                             Holy Places against the invaders and the
                             occupying forces. That is the ultimate level of
                             believing in this religion "Deen". But the regime


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                  6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 14 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 15 of 32

                             had reversed these principles and their
                             understanding, humiliating the Ummah and
                             disobeying Allah. Half a century ago the rulers
                             promised the Ummah to regain the first Qiblah, but
                             fifty years later new generation arrived and the
                             promises have been changed; Al-Aqsa Mosque
                             handed over to the Zionists and the wounds of the
                             Ummah still bleeding there. At the time when the
                             Ummah has not regained the first Qiblah and the
                             rout of the journey of the Prophet (Allah's
                             Blessings and Salutations may be on him), and
                             despite of all of the above, the Saudi regime had
                             stunt the Ummah in the remaining sanctities, the
                             Holy city of Makka and the mosque of the Prophet
                             (Al-Masjid An-Nabawy), by calling the Christians
                             army to defend the regime. The crusaders were
                             permitted to be in the land of the two Holy Places.
                             Not surprisingly though, the King himself wore the
                             cross on his chest. The country was widely
                             opened from the north-to- the south and from
                             east-to-the west for the crusaders. The land was
                             filled with the military bases of the USA and the
                             allies. The regime became unable to keep control
                             without the help of these bases. You know more
                             than any body else about the size, intention and
                             the danger of the presence of the USA military
                             bases in the area. The regime betrayed the
                             Ummah and joined the Kufr, assisting and helping
                             them against the Muslims. It is well known that this
                             is one of the ten "voiders" of Islam, deeds of de-
                             Islamisation. By opening the Arab peninsula to the
                             crusaders the regime disobeyed and acted against
                             what has been enjoined by the messenger of Allah
                             (Allah's Blessings and Salutations may be on him),
                             while he was at the bed of his death: (Expel the
                             polytheists out of the Arab Peninsula); (narrated
                             by Al-Bukhari) and: (If I survive, Allah willing, I'll
                             expel the Jews and the Christians out of the Arab
                             Peninsula); saheeh Aljame' As-Sagheer.

                             It is out of date and no longer acceptable to claim
                             that the presence of the crusaders is necessity
                             and only a temporary measures to protect the land
                             of the two Holy Places. Especially when the civil
                             and the military infrastructures of Iraq were
                             savagely destroyed showing the depth of the
                             Zionist-Crusaders hatred to the Muslims and their
                             children, and the rejection of the idea of replacing
                             the crusaders forces by an Islamic force
                             composed of the sons of the country and other
                             Muslim people. moreover the foundations of the
                             claim and the claim it self were demolished and
                             wiped out by the sequence of speeches given by


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                   6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 15 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 16 of 32

                             the leaders of the Kuffar in America. The latest of
                             these speeches was the one given by William
                             Perry, the Defense Secretary, after the explosion
                             in Al-Khobar saying that: the presence of the
                             American solders there is to protect the interest of
                             the USA. The imprisoned Sheikh Safar Al-Hawali,
                             may Allah hasten his release, wrote a book of
                             seventy pages; in it he presented evidence and
                             proof that the presence of the Americans in the
                             Arab Peninsula is a pre-planed military
                             occupation. The regime want to deceive the
                             Muslim people in the same manner when the
                             Palestinian fighters, Mujahideen, were deceived
                             causing the loss of Al-Aqsa Mosque. In 1304 A.H
                             (1936 AD) the awakened Muslims nation of
                             Palestine started their great struggle, Jihad,
                             against the British occupying forces. Britain was
                             impotent to stop the Mujahideen and their Jihad,
                             but their devil inspired that there is no way to stop
                             the armed struggle in Palestine unless through
                             their agent King Abdul Azeez, who managed to
                             deceives the Mujahideen. King Abdul Azeez
                             carried out his duty to his British masters. He sent
                             his two sons to meet the Mujahideen leaders and
                             to inform them that King Abdul Azeez would
                             guarantee the promises made by the British
                             government in leaving the area and responding
                             positively to the demands of the Mujahideen if the
                             latter stop their Jihad. And so King Abdul Azeez
                             caused the loss of the first Qiblah of the Muslims
                             people. The King joined the crusaders against the
                             Muslims and instead of supporting the Mujahideen
                             in the cause of Allah, to liberate the Al-Aqsa
                             Mosque, he disappointed and humiliated them.

                             Today, his son, king Fahd, trying to deceive the
                             Muslims for the second time so as to loose what is
                             left of the sanctities. When the Islamic world
                             resented the arrival of the crusader forces to the
                             land of the two Holy Places, the king told lies to
                             the Ulamah (who issued Fatwas about the arrival
                             of the Americans) and to the gathering of the
                             Islamic leaders at the conference of Rabitah which
                             was held in the Holy City of Makka. The King said
                             that: "the issue is simple, the American and the
                             alliance forces will leave the area in few months".
                             Today it is seven years since their arrival and the
                             regime is not able to move them out of the
                             country. The regime made no confession about its
                             inability and carried on lying to the people claiming
                             that the American will leave. But never-never
                             again ; a believer will not be bitten twice from the
                             same hole or snake! Happy is the one who takes


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                  6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 16 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 17 of 32

                             note of the sad experience of the others!!

                             Instead of motivating the army, the guards, and
                             the security men to oppose the occupiers, the
                             regime used these men to protect the invaders,
                             and further deepening the humiliation and the
                             betrayal. (We bemoan this and can only say: "No
                             power and power acquiring except through Allah").
                             To those little group of men within the army, police
                             and security forces, who have been tricked and
                             pressured by the regime to attack the Muslims and
                             spill their blood, we would like to remind them of
                             the narration: (I promise war against those who
                             take my friends as their enemy) narrated by Al--
                             Bukhari. And his saying (Allah's Blessings and
                             Salutations may be on him) saying of: ( In the day
                             of judgement a man comes holding another and
                             complaining being slain by him. Allah, blessed be
                             His Names, asks: Why did you slay him?! The
                             accused replies: I did so that all exaltation may be
                             Yours. Allah, blessed be His Names, says: All
                             exaltation is indeed mine! Another man comes
                             holding a fourth with a similar complaint. Allah,
                             blessed be His Names, asks: Why did you kill
                             him?! The accused replies: I did so that exaltation
                             may be for Mr. X! Allah, blessed be His Names,
                             says: exaltation is mine, not for Mr. X, carry all the
                             slain man's sins (and proceed to the Hell fire)!). In
                             another wording of An-Nasa'i: "The accused says:
                             for strengthening the rule or kingdom of Mr. X"

                             Today your brothers and sons, the sons of the two
                             Holy Places, have started their Jihad in the cause
                             of Allah, to expel the occupying enemy from of the
                             country of the two Holy places. And there is no
                             doubt you would like to carry out this mission too,
                             in order to re-establish the greatness of this
                             Ummah and to liberate its' occupied sanctities.
                             Nevertheless, it must be obvious to you that, due
                             to the imbalance of power between our armed
                             forces and the enemy forces, a suitable means of
                             fighting must be adopted i.e using fast moving
                             light forces that work under complete secrecy. In
                             other word to initiate a guerrilla warfare, were the
                             sons of the nation, and not the military forces, take
                             part in it. And as you know, it is wise, in the
                             present circumstances, for the armed military
                             forces not to be engaged in a conventional fighting
                             with the forces of the crusader enemy (the
                             exceptions are the bold and the forceful
                             operations carried out by the members of the
                             armed forces individually, that is without the
                             movement of the formal forces in its conventional


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                   6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 17 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 18 of 32

                             shape and hence the responses will not be
                             directed, strongly, against the army) unless a big
                             advantage is likely to be achieved; and great
                             losses induced on the enemy side (that would
                             shaken and destroy its foundations and
                             infrastructures) that will help to expel the defeated
                             enemy from the country.

                             The Mujahideen, your brothers and sons,
                             requesting that you support them in every possible
                             way by supplying them with the necessary
                             information, materials and arms. Security men are
                             especially asked to cover up for the Mujahideen
                             and to assist them as much as possible against
                             the occupying enemy; and to spread rumours, fear
                             and discouragement among the members of the
                             enemy forces.

                             We bring to your attention that the regime, in order
                             to create a friction and feud between the
                             Mujahideen and yourselves, might resort to take a
                             deliberate action against personnel of the security,
                             guards and military forces and blame the
                             Mujahideen for these actions. The regime should
                             not be allowed to have such opportunity.

                             The regime is fully responsible for what had been
                             incurred by the country and the nation; however
                             the occupying American enemy is the principle
                             and the main cause of the situation . Therefore
                             efforts should be concentrated on destroying,
                             fighting and killing the enemy until, by the Grace of
                             Allah, it is completely defeated. The time will come
                             -by the Permission of Allah- when you'll perform
                             your decisive role so that the word of Allah will be
                             supreme and the word of the infidels (Kaferoon)
                             will be the inferior. You will hit with iron fist against
                             the aggressors. You'll re-establish the normal
                             course and give the people their rights and carry
                             out your truly Islamic duty. Allah willing, I'll have a
                             separate talk about these issues.

                             My Muslim Brothers (particularly those of the Arab
                             Peninsula): The money you pay to buy American
                             goods will be transformed into bullets and used
                             against our brothers in Palestine and tomorrow
                             (future) against our sons in the land of the two
                             Holy places. By buying these goods we are
                             strengthening their economy while our
                             dispossession and poverty increases.

                             Muslims Brothers of land of the two Holy Places:



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                      6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 18 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 19 of 32

                             It is incredible that our country is the world largest
                             buyer of arms from the USA and the area biggest
                             commercial partners of the Americans who are
                             assisting their Zionist brothers in occupying
                             Palestine and in evicting and killing the Muslims
                             there, by providing arms, men and financial
                             supports.

                             To deny these occupiers from the enormous
                             revenues of their trading with our country is a very
                             important help for our Jihad against them. To
                             express our anger and hate to them is a very
                             important moral gesture. By doing so we would
                             have taken part in (the process of ) cleansing our
                             sanctities from the crusaders and the Zionists and
                             forcing them, by the Permission of Allah, to leave
                             disappointed and defeated.

                             We expect the woman of the land of the two Holy
                             Places and other countries to carry out their role in
                             boycotting the American goods.

                             If economical boycotting is intertwined with the
                             military operations of the Mujahideen, then
                             defeating the enemy will be even nearer, by the
                             Permission of Allah. However if Muslims don't co-
                             operate and support their Mujahideen brothers
                             then , in effect, they are supplying the army of the
                             enemy with financial help and extending the war
                             and increasing the suffering of the Muslims.

                             The security and the intelligence services of the
                             entire world can not force a single citizen to buy
                             the goods of his/her enemy. Economical
                             boycotting of the American goods is a very
                             effective weapon of hitting and weakening the
                             enemy, and it is not under the control of the
                             security forces of the regime.

                             Before closing my talk, I have a very important
                             message to the youths of Islam, men of the
                             brilliant future of the Ummah of Muhammad
                             (ALLAH'S BLESSING AND SALUTATIONS ON
                             HIM). Our talk with the youths about their duty in
                             this difficult period in the history of our Ummah. A
                             period in which the youths and no one else came
                             forward to carry out the variable and different
                             duties. While some of the well known individuals
                             had hesitated in their duty of defending Islam and
                             saving themselves and their wealth from the
                             injustice, aggression and terror -exercised by the
                             government- the youths (may Allah protect them)



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                   6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 19 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 20 of 32

                             were forthcoming and raised the banner of Jihad
                             against the American-Zionist alliance occupying
                             the sanctities of Islam. Others who have been
                             tricked into loving this materialistic world, and
                             those who have been terrorised by the
                             government choose to give legitimacy to the
                             greatest betrayal , the occupation of the land of
                             the two Holy Places (We bemoan this and can
                             only say: "No power and power acquiring except
                             through Allah"). We are not surprised from the
                             action of our youths. The youths were the
                             companions of Muhammad (Allah's Blessings and
                             Salutations may be on him), and was it not the
                             youths themselves who killed Aba-Jahl, the
                             Pharaoh of this Ummah?. Our youths are the best
                             descendent of the best ancestors.

                             Abdul-Rahman Ibn Awf -may Allah be pleased
                             with him- said: (I was at Badr where I noticed two
                             youths one to my right and the other to my left.
                             One of them asked me quietly (so not to be heard
                             by the other) : O uncle point out Aba-Jahl to me.
                             What do you want him for? , said Abdul Rahman.
                             The boy answered: I have been informed that he-
                             Aba-Jahl- abused the Messenger of Allah (), I
                             swear by Allah, who have my soul in His hand,
                             that if I see Aba-Jahl I'll not let my shadow departs
                             his shadow till one of us is dead. I was astonished,
                             said Abdul Rahman; then the other youth said the
                             same thing as the first one. Subsequently I saw
                             Aba-Jahl among the people; I said to the boys do
                             you see? this is the man you are asking me about.
                             The two youths hit Aba-Jahl with their swords till
                             he was dead. Allah is the greatest, Praise be to
                             Him: Two youths of young age but with great
                             perseverance, enthusiasm, courage and pride for
                             the religion of Allah's, each one of them asking
                             about the most important act of killing that should
                             be induced on the enemy. That is the killing of the
                             pharaoh of this Ummah - Aba Jahl-, the leader of
                             the unbelievers (Mushrikeen) at the battle of Badr.
                             The role of Abdul Rahman Ibn Awf , may Allah be
                             pleased with him, was to direct the two youths
                             toward Aba-Jahl. That was the perseverance and
                             the enthusiasm of the youths of that time and that
                             was the perseverance and the enthusiasm of their
                             fathers. It is this role that is now required from the
                             people who have the expertise and knowledge in
                             fighting the enemy. They should guide their
                             brothers and sons in this matter; once that has
                             been done, then our youths will repeat what their
                             forefathers had said before: "I swear by Allah if I
                             see him I'll not let my shadow to departs from his


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                   6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 20 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 21 of 32

                             shadow till one of us is dead".

                             And the story of Abdur-Rahman Ibn Awf about
                             Ummayyah Ibn Khalaf shows the extent of Bilal's
                             (may Allah be pleased with him) persistence in
                             killing the head of the Kufr: "the head of Kufr is
                             Ummayyah Ibn Khalaf.... I shall live not if he
                             survives" said Bilal.

                             Few days ago the news agencies had reported
                             that the Defence Secretary of the Crusading
                             Americans had said that "the explosion at Riyadh
                             and Al-Khobar had taught him one lesson: that is
                             not to withdraw when attacked by coward
                             terrorists".

                             We say to the Defence Secretary that his talk can
                             induce a grieving mother to laughter! and shows
                             the fears that had enshrined you all. Where was
                             this false courage of yours when the explosion in
                             Beirut took place on 1983 AD (1403 A.H). You
                             were turned into scattered pits and pieces at that
                             time; 241 mainly marines solders were killed. And
                             where was this courage of yours when two
                             explosions made you to leave Aden in lees than
                             twenty four hours!

                             But your most disgraceful case was in Somalia;
                             where- after vigorous propaganda about the
                             power of the USA and its post cold war leadership
                             of the new world order- you moved tens of
                             thousands of international force, including twenty
                             eight thousands American solders into Somalia.
                             However, when tens of your solders were killed in
                             minor battles and one American Pilot was dragged
                             in the streets of Mogadishu you left the area
                             carrying disappointment, humiliation, defeat and
                             your dead with you. Clinton appeared in front of
                             the whole world threatening and promising
                             revenge , but these threats were merely a
                             preparation for withdrawal. You have been
                             disgraced by Allah and you withdrew; the extent of
                             your impotence and weaknesses became very
                             clear. It was a pleasure for the "heart" of every
                             Muslim and a remedy to the "chests" of believing
                             nations to see you defeated in the three Islamic
                             cities of Beirut , Aden and Mogadishu.

                             I say to Secretary of Defence: The sons of the
                             land of the two Holy Places had come out to fight
                             against the Russian in Afghanistan, the Serb in
                             Bosnia-Herzegovina and today they are fighting in



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                 6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 21 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 22 of 32

                             Chechenia and -by the Permission of Allah- they
                             have been made victorious over your partner, the
                             Russians. By the command of Allah, they are also
                             fighting in Tajakistan.

                             I say: Since the sons of the land of the two Holy
                             Places feel and strongly believe that fighting
                             (Jihad) against the Kuffar in every part of the
                             world, is absolutely essential; then they would be
                             even more enthusiastic, more powerful and larger
                             in number upon fighting on their own land- the
                             place of their births- defending the greatest of their
                             sanctities, the noble Ka'ba (the Qiblah of all
                             Muslims). They know that the Muslims of the world
                             will assist and help them to victory. To liberate
                             their sanctities is the greatest of issues concerning
                             all Muslims; It is the duty of every Muslims in this
                             world.

                             I say to you William (Defence Secretary) that:
                             These youths love death as you loves life. They
                             inherit dignity, pride, courage, generosity,
                             truthfulness and sacrifice from father to father.
                             They are most delivering and steadfast at war.
                             They inherit these values from their ancestors
                             (even from the time of the Jaheliyyah, before
                             Islam). These values were approved and
                             completed by the arriving Islam as stated by the
                             messenger of Allah (Allah's Blessings and
                             Salutations may be on him): "I have been send to
                             perfecting the good values". (Saheeh Al-Jame' As-
                             Sagheer).

                             When the pagan King Amroo Ibn Hind tried to
                             humiliate the pagan Amroo Ibn Kulthoom, the
                             latter cut the head of the King with his sword
                             rejecting aggression, humiliation and indignation.

                             If the king oppresses the people excessively, we
                             reject submitting to humiliation.

                             By which legitimacy (or command) O Amroo bin
                             Hind you want us to be degraded?!

                             By which legitimacy (or command) O Amroo bin
                             Hind you listen to our foes and disrespect us?!

                             Our toughness has, O Amroo, tired the enemies
                             before you, never giving in!

                             Our youths believe in paradise after death. They
                             believe that taking part in fighting will not bring



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                   6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 22 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 23 of 32

                             their day nearer; and staying behind will not
                             postpone their day either. Exalted be to Allah who
                             said: {And a soul will not die but with the
                             permission of Allah, the term is fixed} (Aal Imraan;
                             3:145). Our youths believe in the saying of the
                             messenger of Allah (Allah's Blessings and
                             Salutations may be on him): "O boy, I teach a few
                             words; guard (guard the cause of, keep the
                             commandments of) Allah, then He guards you,
                             guard (the cause of ) Allah, then He will be with
                             you; if you ask (for your need) ask Allah, if you
                             seek assistance, seek Allah's; and know definitely
                             that if the Whole World gathered to (bestow) profit
                             on you they will not profit you except with what
                             was determined for you by Allah, and if they
                             gathered to harm you they will not harm you
                             except with what has been determined for you by
                             Allah; Pen lifted, papers dried, it is fixed nothing in
                             these truths can be changed" Saheeh Al-Jame'
                             As-Sagheer. Our youths took note of the meaning
                             of the poetic verse:

                             "If death is a predetermined must, then it is a
                             shame to die cowardly."
                             and the other poet saying:
                             "Who do not die by the sword will die by other
                             reason; many causes are there but one death".

                             These youths believe in what has been told by
                             Allah and His messenger (Allah's Blessings and
                             Salutations may be on him) about the greatness of
                             the reward for the Mujahideen and Martyrs; Allah,
                             the most exalted said: {and -so far- those who are
                             slain in the way of Allah, He will by no means
                             allow their deeds to perish. He will guide them and
                             improve their condition. and cause them to enter
                             the garden -paradise- which He has made known
                             to them}. (Muhammad; 47:4-6). Allah the Exalted
                             also said: {and do not speak of those who are
                             slain in Allah's way as dead; nay -they are- alive,
                             but you do not perceive} (Bagarah; 2:154). His
                             messenger (Allah's Blessings and Salutations may
                             be on him) said: "for those who strive in His cause
                             Allah prepared hundred degrees (levels) in
                             paradise; in-between two degrees as the in-
                             between heaven and earth". Saheeh Al-Jame' As-
                             Sagheer. He (Allah's Blessings and Salutations
                             may be on him) also said: "the best of the martyrs
                             are those who do NOT turn their faces away from
                             the battle till they are killed. They are in the high
                             level of Jannah (paradise). Their Lord laughs to
                             them ( in pleasure) and when your Lord laughs to
                             a slave of His, He will not hold him to an account".


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                    6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 23 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 24 of 32

                             narrated by Ahmad with correct and trustworthy
                             reference. And : "a martyr will not feel the pain of
                             death except like how you feel when you are
                             pinched". Saheeh Al-Jame' As-Sagheer. He also
                             said: "a martyr privileges are guaranteed by Allah;
                             forgiveness with the first gush of his blood, he will
                             be shown his seat in paradise, he will be
                             decorated with the jewels of belief (Imaan),
                             married off to the beautiful ones, protected from
                             the test in the grave, assured security in the day of
                             judgement, crowned with the crown of dignity, a
                             ruby of which is better than this whole world
                             (Duniah) and its' entire content, wedded to
                             seventy two of the pure Houries (beautiful ones of
                             Paradise) and his intercession on the behalf of
                             seventy of his relatives will be accepted". Narrated
                             by Ahmad and At-Tirmithi (with the correct and
                             trustworthy reference).

                             Those youths know that their rewards in fighting
                             you, the USA, is double than their rewards in
                             fighting some one else not from the people of the
                             book. They have no intention except to enter
                             paradise by killing you. An infidel, and enemy of
                             God like you, cannot be in the same hell with his
                             righteous executioner.

                             Our youths chanting and reciting the word of Allah,
                             the most exalted: {fight them; Allah will punish
                             them by your hands and bring them to disgrace,
                             and assist you against them and heal the heart of
                             a believing people} (At-Taubah; 9:14) and the
                             words of the prophet (ALLAH'S BLESSING AND
                             SALUTATIONS ON HIM): "I swear by Him, who
                             has my soul in His hand, that no man get killed
                             fighting them today, patiently attacking and not
                             retreating ,surely Allah will let him into paradise".
                             And his (Allah's Blessings and Salutations may be
                             on him) saying to them: "get up to a paradise as
                             wide as heaven and earth".

                             The youths also reciting the All Mighty words of:
                             "so when you meat in battle those who disbelieve,
                             then smite the necks..." (Muhammad; 47:19).
                             Those youths will not ask you (William Perry) for
                             explanations, they will tell you singing there is
                             nothing between us need to be explained, there is
                             only killing and neck smiting.

                             And they will say to you what their grand father,
                             Haroon Ar-Rasheed, Ameer-ul-Mu'meneen,
                             replied to your grandfather, Nagfoor, the
                             Byzantine emperor, when he threatened the


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                  6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 24 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 25 of 32

                             Muslims: "from Haroon Ar-Rasheed, Ameer-ul-
                             Mu'meneen, to Nagfoor, the dog of the Romans;
                             the answer is what you will see not what you
                             hear". Haroon El-Rasheed led the armies of Islam
                             to the battle and handed Nagfoor a devastating
                             defeat.

                             The youths you called cowards are competing
                             among themselves for fighting and killing you.
                             reciting what one of them said:
                             The crusader army became dust when we
                             detonated al-Khobar.
                             With courageous youth of Islam fearing no danger.
                             If (they are) threatened: The tyrants will kill you,
                             they reply my death is a victory.
                             I did not betray that king, he did betray our Qiblah.
                             And he permitted in the holy country the most
                             filthy sort of humans.
                             I have made an oath by Allah, the Great, to fight
                             who ever rejected the faith.
                             For more than a decade, they carried arms on
                             their shoulders in Afghanistan and they have
                             made vows to Allah that as long as they are alive,
                             they will continue to carry arms against you until
                             you are -Allah willing- expelled, defeated and
                             humiliated, they will carry on as long as they live
                             saying:
                             O William, tomorrow you will know which young
                             man is confronting your misguided brethren!
                             A youth fighting in smile, returning with the spear
                             coloured red.
                             May Allah keep me close to knights, humans in
                             peace, demons in war.
                             Lions in Jungle but their teeth are spears and
                             Indian swords.
                             The horses witness that I push them hard
                             forwarded in the fire of battle.

                             The dust of the battle bears witnesses for me, so
                             also the fighting itself, the pens and the books!

                             So to abuse the grandsons of the companions,
                             may Allah be pleased with them, by calling them
                             cowards and challenging them by refusing to
                             leave the land of the two Holy Places shows the
                             insanity and the imbalance you are suffering from.
                             Its appropriate "remedy," however, is in the hands
                             of the youths of Islam, as the poet said:

                             I am willing to sacrifice self and wealth for knights
                             who never disappointed me.




http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                  6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 25 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 26 of 32

                             Knights who are never fed up or deterred by
                             death, even if the mill of war turns.

                             In the heat of battle they do not care, and cure the
                             insanity of the enemy by their 'insane' courage.

                             Terrorising you, while you are carrying arms on
                             our land, is a legitimate and morally demanded
                             duty. It is a legitimate right well known to all
                             humans and other creatures. Your example and
                             our example is like a snake which entered into a
                             house of a man and got killed by him. The coward
                             is the one who lets you walk, while carrying arms,
                             freely on his land and provides you with peace
                             and security.

                             Those youths are different from your soldiers.
                             Your problem will be how to convince your troops
                             to fight, while our problem will be how to restrain
                             our youths to wait for their turn in fighting and in
                             operations. These youths are commendation and
                             praiseworthy.

                             They stood up tall to defend the religion; at the
                             time when the government misled the prominent
                             scholars and tricked them into issuing Fatwas
                             (that have no basis neither in the book of Allah,
                             nor in the Sunnah of His prophet (Allah's
                             Blessings and Salutations may be on him)) of
                             opening the land of the two Holy Places for the
                             Christians armies and handing the Al-Aqsa
                             Mosque to the Zionists. Twisting the meanings of
                             the holy text will not change this fact at all. They
                             deserve the praise of the poet:
                             I rejected all the critics, who chose the wrong way;
                             I rejected those who enjoy fireplaces in clubs
                             discussing eternally;
                             I rejected those, who inspite being lost, think they
                             are at the goal;
                             I respect those who carried on not asking or
                             bothering about the difficulties;
                             Never letting up from their goals, inspite all
                             hardships of the road;
                             Whose blood is the oil for the flame guiding in the
                             darkness of confusion;
                             I feel still the pain of (the loss) Al-Quds in my
                             internal organs;
                             That loss is like a burning fire in my intestines;
                             I did not betray my covenant with God, when even
                             states did betray it! As their grandfather Assim Bin
                             Thabit said rejecting a surrender offer of the
                             pagans:



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                 6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 26 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 27 of 32

                             What for an excuse I had to surrender, while I am
                             still able, having arrows and my bow having a
                             tough string?!

                             Death is truth and ultimate destiny, and life will
                             end any way. If I do not fight you, then my mother
                             must be insane!

                             The youths hold you responsible for all of the
                             killings and evictions of the Muslims and the
                             violation of the sanctities, carried out by your
                             Zionist brothers in Lebanon; you openly supplied
                             them with arms and finance. More than 600,000
                             Iraqi children have died due to lack of food and
                             medicine and as a result of the unjustifiable
                             aggression (sanction) imposed on Iraq and its
                             nation. The children of Iraq are our children. You,
                             the USA, together with the Saudi regime are
                             responsible for the shedding of the blood of these
                             innocent children. Due to all of that, what ever
                             treaty you have with our country is now null and
                             void.

                             The treaty of Hudaybiyyah was cancelled by the
                             messenger of Allah (Allah's Blessings and
                             Salutations may be on him) once Quraysh had
                             assisted Bani Bakr against Khusa'ah, the allies of
                             the prophet (Allah's Blessings and Salutations
                             may be on him). The prophet (Allah's Blessings
                             and Salutations may be on him) fought Quraysh
                             and concurred Makka. He (Allah's Blessings and
                             Salutations may be on him) considered the treaty
                             with Bani Qainuqa' void because one of their Jews
                             publicly hurt one Muslim woman, one single
                             woman, at the market. Let alone then, the killing
                             you caused to hundred of thousands Muslims and
                             occupying their sanctities. It is now clear that
                             those who claim that the blood of the American
                             solders (the enemy occupying the land of the
                             Muslims) should be protected are merely
                             repeating what is imposed on them by the regime;
                             fearing the aggression and interested in saving
                             themselves. It is a duty now on every tribe in the
                             Arab Peninsula to fight, Jihad, in the cause of
                             Allah and to cleanse the land from those
                             occupiers. Allah knows that there blood is
                             permitted (to be spilled) and their wealth is a
                             booty; their wealth is a booty to those who kill
                             them. The most Exalted said in the verse of As-
                             Sayef, The Sword: "so when the sacred months
                             have passed away, then slay the idolaters where
                             ever you find them, and take them captives and
                             besiege them and lie in wait for them in every


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                 6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 27 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 28 of 32

                             ambush" (At-Tauba; 9:5). Our youths knew that
                             the humiliation suffered by the Muslims as a result
                             of the occupation of their sanctities can not be
                             kicked and removed except by explosions and
                             Jihad. As the poet said:

                             The walls of oppression and humiliation cannot be
                             demolished except in a rain of bullets.

                             The freeman does not surrender leadership to
                             infidels and sinners.

                             Without shedding blood no degradation and
                             branding can be removed from the forehead.

                             I remind the youths of the Islamic world, who
                             fought in Afghanistan and Bosnia-Herzegovina
                             with their wealth, pens, tongues and themselves
                             that the battle had not finished yet. I remind them
                             about the talk between Jibreel (Gabriel) and the
                             messenger of Allah (Allah's Blessings and
                             Salutations may be on both of them) after the
                             battle of Ahzab when the messenger of Allah
                             (Allah's Blessings and Salutations may be on him)
                             returned to Medina and before putting his sword
                             aside; when Jibreel (Allah's Blessings and
                             Salutations may be on him) descend saying: "are
                             you putting your sword aside? by Allah the angels
                             haven't dropped their arms yet; march with your
                             companions to Bani Quraydah, I am (going) ahead
                             of you to throw fears in their hearts and to shake
                             their fortresses on them". Jibreel marched with the
                             angels (Allah's Blessings and Salutations may be
                             on them all), followed by the messenger of Allah
                             (Allah's Blessings and Salutations may be on him)
                             marching with the immigrants, Muhajeroon, and
                             supporters, Ansar. (narrated by Al-Bukhary).

                             These youths know that: if one is not to be killed
                             one will die (any way) and the most honourable
                             death is to be killed in the way of Allah. They are
                             even more determined after the martyrdom of the
                             four heroes who bombed the Americans in
                             Riyadh. Those youths who raised high the head of
                             the Ummah and humiliated the Americans-the
                             occupier- by their operation in Riyadh. They
                             remember the poetry of Ja'far, the second
                             commander in the battle of Mu'tah, in which three
                             thousand Muslims faced over a hundred thousand
                             Romans:

                             How good is the Paradise and its nearness, good



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                 6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 28 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 29 of 32

                             with cool drink But the Romans are promised
                             punishment (in Hell), if I meet them.

                             I will fight them.

                             And the poetry of Abdullah Bin Rawaha, the third
                             commander in the battle of Mu'tah, after the
                             martyrdom of Ja'far, when he felt some hesitation:

                             O my soul if you do not get killed, you are going to
                             die, anyway.

                             This is death pool in front of you!

                             You are getting what you have wished for
                             (martyrdom) before, and you follow the example of
                             the two previous commanders you are rightly
                             guided!

                             As for our daughters, wives, sisters and mothers
                             they should take prime example from the prophet
                             (Allah's Blessings and Salutations may be on him)
                             pious female companions, may Allah be pleased
                             with them; they should adopt the life style
                             (Seerah) of the female companions of courage,
                             sacrifice and generosity in the cause of the
                             supremacy of Allah's religion.

                             They should remember the courage and the
                             personality of Fatima, daughter of Khatab, when
                             she accepted Islam and stood up in front of her
                             brother, Omar Ibn Al-Khatab and challenged him
                             (before he became a Muslim) saying: "O Omar ,
                             what will you do if the truth is not in your religion?!"
                             And to remember the stand of Asma', daughter of
                             Abu Bakr, on the day of Hijra, when she attended
                             the Messenger and his companion in the cave and
                             split her belt in two pieces for them. And to
                             remember the stand of Naseeba Bent Ka'b striving
                             to defend the messenger of Allah (Allah's
                             Blessings and Salutations may be on him) on the
                             day of Uhud, in which she suffered twelve injuries,
                             one of which was so deep leaving a deep lifelong
                             scar! They should remember the generosity of the
                             early woman of Islam who raised finance for the
                             Muslims army by selling their jewelery.

                             Our women had set a tremendous example of
                             generosity in the cause of Allah; they motivated
                             and encouraged their sons, brothers and
                             husbands to fight- in the cause of Allah- in
                             Afghanistan, Bosnia-Herzegovina, Chechenia and



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                     6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 29 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 30 of 32

                             in other countries. We ask Allah to accept from
                             them these deeds, and may He help their fathers,
                             brothers, husbands and sons. May Allah
                             strengthen the belief - Imaan - of our women in the
                             way of generosity and sacrifice for the supremacy
                             of the word of Allah. Our women weep not, except
                             over men who fight in the cause of Allah; our
                             women instigate their brothers to fight in the cause
                             of Allah.

                             Our women bemoan only fighters in the cause of
                             Allah, as said:
                             Do not moan on any one except a lion in the
                             woods, courageous in the burning wars.
                             Let me die dignified in wars, honourable death is
                             better than my current life.

                             Our women encourage Jihad saying:
                             Prepare yourself like a struggler, the matter is
                             bigger than words!
                             Are you going to leave us else for the wolves of
                             Kufr eating our wings?!
                             The wolves of Kufr are mobilising all evil persons
                             from every where!
                             Where are the freemen defending free women by
                             the arms?!
                             Death is better than life in humiliation! Some
                             scandals and shames will never be otherwise
                             eradicated.

                             My Muslim Brothers of The World:
                             Your brothers in Palestine and in the land of the
                             two Holy Places are calling upon your help and
                             asking you to take part in fighting against the
                             enemy --your enemy and their enemy-- the
                             Americans and the Israelis. they are asking you to
                             do whatever you can, with one own means and
                             ability, to expel the enemy, humiliated and
                             defeated, out of the sanctities of Islam. Exalted be
                             to Allah said in His book: { and if they ask your
                             support, because they are oppressed in their faith,
                             then support them!} (Anfaal; 8:72)

                             O you horses (soldiers) of Allah ride and march
                             on. This is the time of hardship so be tough. And
                             know that your gathering and co-operation in order
                             to liberate the sanctities of Islam is the right step
                             toward unifying the word of the Ummah under the
                             banner of "No God but Allah" ).

                             From our place we raise our palms humbly to
                             Allah asking Him to bestow on us His guide in



http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                  6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 30 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 31 of 32

                             every aspects of this issue.

                             Our Lord, we ask you to secure the release of the
                             truthful scholars, Ulama, of Islam and pious youths
                             of the Ummah from their imprisonment. O Allah,
                             strengthen them and help their families.

                             Our Lord, the people of the cross had come with
                             their horses (soldiers) and occupied the land of
                             the two Holy places. And the Zionist Jews fiddling
                             as they wish with the Al-Aqsa Mosque, the route
                             of the ascendance of the messenger of Allah
                             (ALLAH'S BLESSING AND SALUTATIONS ON
                             HIM). Our Lord, shatter their gathering, divide
                             them among themselves, shaken the earth under
                             their feet and give us control over them; Our Lord,
                             we take refuge in you from their deeds and take
                             you as a shield between us and them

                             Our Lord, show us a black day in them!

                             Our Lord, show us the wonderment of your ability
                             in them!

                             Our Lord, You are the Revealer of the book,
                             Director of the clouds, You defeated the allies
                             (Ahzab); defeat them and make us victorious over
                             them.

                             Our Lord, You are the one who help us and You
                             are the one who assist us, with Your Power we
                             move and by Your Power we fight. On You we rely
                             and You are our cause.

                             Our Lord, those youths got together to make Your
                             religion victorious and raise Your banner. Our
                             Lord, send them Your help and strengthen their
                             hearts.

                             Our Lord, make the youths of Islam steadfast and
                             descend patience on them and guide their shots!

                             Our Lord, unify the Muslims and bestow love
                             among their hearts!

                             O Lord pour down upon us patience, and make
                             our steps firm and assist us against the
                             unbelieving people!

                             Our Lord, do not lay on us a burden as Thou didst
                             lay on those before us; Our Lord, do not impose
                             upon us that which we have no strength to bear;


http://www.pbs.org/newshour/terrorism/international/fatwa_1996.html                 6/30/2004
Online NewsHour: Bin Laden's Fatwa                                              Page 31 of 31
           Case 1:03-md-01570-GBD-SN Document 272-13 Filed 06/30/04 Page 32 of 32

                                and pardon us and grant us protection and have
                                mercy on us, Thou art our patron, so help us
                                against the unbelieving people.

                                Our Lord, guide this Ummah, and make the right
                                conditions (by which) the people of your
                                obedience will be in dignity and the people of
                                disobedience in humiliation, and by which the
                                good deeds are enjoined and the bad deeds are
                                forebode.

                                Our Lord, bless Muhammad, Your slave and
                                messenger, his family and descendants, and
                                companions and salute him with a (becoming)
                                salutation.

                                And our last supplication is: All praise is due to
                                Allah .




             home | newshour index | search | forum | political wrap | letters | essays & dialogues | off camera

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